         Case 1:24-cv-01150-DAE Document 6 Filed 10/18/24 Page 1 of 6




                    UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION

 SECURITIES AND EXCHANGE
 COMMISSION,

                                 Plaintiff,
                                                                1:24-cv-1150-DAE
                                                       Case No. ____________
                        v.

 CASSAVA SCIENCES, INC.; REMI
 BARBIER; and LINDSAY BURNS,

                                 Defendants.



          FINAL JUDGMENT AS TO DEFENDANT REMI BARBIER

      The Securities and Exchange Commission having filed a Complaint and

Defendant Remi Barbier having entered a general appearance; consented to the

Court’s jurisdiction over Defendant and the subject matter of this action; consented

to entry of this Final Judgment without admitting or denying the allegations of the

Complaint (except as to jurisdiction and except as otherwise provided herein in

paragraph IV); waived findings of fact and conclusions of law; and waived any right

to appeal from this Final Judgment:

                                              I.

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

permanently restrained and enjoined from violating Section 17(a)(2) and 17(a)(3) of

the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)(2) and (3)] in the

offer or sale of any security by the use of any means or instruments of


                                              1
             Case 1:24-cv-01150-DAE Document 6 Filed 10/18/24 Page 2 of 6




transportation or communication in interstate commerce or by use of the mails,

directly or indirectly:

       (b)      to obtain money or property by means of any untrue statement of a

                material fact or any omission of a material fact necessary in order to

                make the statements made, in light of the circumstances under which

                they were made, not misleading; or

       (c)      to engage in any transaction, practice, or course of business which

                operates or would operate as a fraud or deceit upon the purchaser

by, directly or indirectly, making any false or misleading statement, or

disseminating any false or misleading documents, materials, or information,

concerning matters relating to a decision by an investor or prospective investor to

buy or sell securities of any company.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as

provided in Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also

binds the following who receive actual notice of this Final Judgment by personal

service or otherwise: (a) Defendant’s agents, servants, employees, and attorneys;

and (b) other persons in active concert or participation with Defendant or with

anyone described in (a).

                                            II.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, pursuant

to the Court’s inherent authority to fashion appropriate equitable relief in this

matter, Defendant is prohibited, for five years following the date of entry of this



                                             2
         Case 1:24-cv-01150-DAE Document 6 Filed 10/18/24 Page 3 of 6




Final Judgment, from acting as an officer or director of any issuer that has a class

of securities registered pursuant to Section 12 of the Exchange Act [15 U.S.C. § 78l]

or that is required to file reports pursuant to Section 15(d) of the Exchange Act [15

U.S.C. § 78o(d)].


                                         III.

      IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendant is liable for a civil penalty in the amount of $175,000.00 pursuant to

Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)]. Defendant shall satisfy this

obligation by paying $175,000.00 to the Securities and Exchange Commission

within 30 days after entry of this Final Judgment.

      Defendant may transmit payment electronically to the Commission, which

will provide detailed ACH transfer/Fedwire instructions upon request. Payment

may also be made directly from a bank account via Pay.gov through the SEC

website at http://www.sec.gov/about/offices/ofm.htm. Defendant may also pay by

certified check, bank cashier’s check, or United States postal money order payable

to the Securities and Exchange Commission, which shall be delivered or mailed to

      Enterprise Services Center
      Accounts Receivable Branch
      6500 South MacArthur Boulevard
      Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number,

and name of this Court; Remi Barbier as a defendant in this action; and specifying

that payment is made pursuant to this Final Judgment.



                                           3
         Case 1:24-cv-01150-DAE Document 6 Filed 10/18/24 Page 4 of 6




      Defendant shall simultaneously transmit photocopies of evidence of payment

and case identifying information to the Commission’s counsel in this action. By

making this payment, Defendant relinquishes all legal and equitable right, title,

and interest in such funds and no part of the funds shall be returned to Defendant.

      The Commission may enforce the Court’s judgment for penalties by the use of

all collection procedures authorized by law, including the Federal Debt Collection

Procedures Act, 28 U.S.C. § 3001 et seq., and moving for civil contempt for the

violation of any Court orders issued in this action. Defendant shall pay post

judgment interest on any amounts due after 30 days of the entry of this Final

Judgment pursuant to 28 U.S.C. § 1961. The Commission shall hold the funds,

together with any interest and income earned thereon (collectively, the “Fund”),

pending further order of the Court.

      The Commission may propose a plan to distribute the Fund subject to the

Court’s approval. Such a plan may provide that the Fund shall be distributed

pursuant to the Fair Fund provisions of Section 308(a) of the Sarbanes-Oxley Act of

2002. The Court shall retain jurisdiction over the administration of any distribution

of the Fund and the Fund may only be disbursed pursuant to an Order of the Court.

      Regardless of whether any such Fair Fund distribution is made, amounts

ordered to be paid as civil penalties pursuant to this Judgment shall be treated as

penalties paid to the government for all purposes, including all tax purposes. To

preserve the deterrent effect of the civil penalty, Defendant shall not in any Related

Investor Action, argue that he is entitled to, nor shall he further benefit by, offset or



                                            4
         Case 1:24-cv-01150-DAE Document 6 Filed 10/18/24 Page 5 of 6




reduction of such compensatory damages award by the amount of any part of

Defendant’s payment of a civil penalty in this action (“Penalty Offset”). If the court

in any Related Investor Action grants such a Penalty Offset, Defendant shall,

within 30 days after entry of a final order granting the Penalty Offset, notify the

Commission’s counsel in this action and pay the amount of the Penalty Offset to the

United States Treasury or to a Fair Fund, as the Commission directs. Such a

payment shall not be deemed an additional civil penalty and shall not be deemed to

change the amount of the civil penalty imposed in this Judgment. For purposes of

this paragraph, a “Related Investor Action” means a private damages action

brought against Defendant by or on behalf of one or more investors based on

substantially the same facts as alleged in the Complaint in this action.

                                               IV.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for

purposes of exceptions to discharge set forth in Section 523 of the Bankruptcy Code,

11 U.S.C. §523, the allegations in the complaint are true and admitted by

Defendant, and further, any debt for disgorgement, prejudgment interest, civil

penalty or other amounts due by Defendant under this Final Judgment or any other

judgment, order, consent order, decree or settlement agreement entered in

connection with this proceeding, is a debt for the violation by Defendant of the

federal securities laws or any regulation or order issued under such laws, as set

forth in Section 523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).




                                           5
         Case 1:24-cv-01150-DAE Document 6 Filed 10/18/24 Page 6 of 6




                                               V.

      IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court

shall retain jurisdiction of this matter for the purposes of enforcing the terms of this

Final Judgment.




                       2024
          October 18 _____
Dated: ______________,




                                            ______________________________________
                                            David Alan Ezra
                                            Senior United States District Judge




                                           6
